Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 1 of 17 PageID# 32




                             EXHIBIT A
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 2 of 17 PageID# 33
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 3 of 17 PageID# 34
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 4 of 17 PageID# 35
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 5 of 17 PageID# 36
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 6 of 17 PageID# 37
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 7 of 17 PageID# 38
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 8 of 17 PageID# 39
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 9 of 17 PageID# 40
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 10 of 17 PageID# 41
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 11 of 17 PageID# 42
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 12 of 17 PageID# 43
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 13 of 17 PageID# 44
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 14 of 17 PageID# 45
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 15 of 17 PageID# 46
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 16 of 17 PageID# 47
Case 1:23-cv-01563-MSN-LRV Document 1-3 Filed 11/16/23 Page 17 of 17 PageID# 48
